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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES                                                :       21 MJ 13 (GMH)

v.                                                           :

RICHARD BARNETT                                              :

Defendant.

                     MOTION FOR LEAVE TO APPEAR PRO HAC VICE

       The undersigned respectfully moves the court to grant Tony Siano, Esquire permission to

appear pro hac vice in the above captioned case. Mr. Siano is a long standing member of the Bar

of the State of New York and enjoys a professional reputation for honesty, forthrightness, and

diligence as counsel. I recommend him for admission pro hac vice without reservation.

       Attached to this Motion are the required supporting documents, including a Declaration

from Attorney Siano, a Certificate of Good Standing, and a Proposed Order. The filing fee for

this pro hac vice application will be paid by undersigned at the time of filing this Motion.



                                                     Respectfully submitted

                                                     Robert Feitel

                                                     _____________________________
                                                     Robert Feitel, Esquire
                                                     Law Office of Robert Feitel
                                                     1300 Pennsylvania Avenue, N.W/
                                                     #190-915
                                                     Washington, D.C. 20004
                                                     D.C. Bar No. 366673
                                                     202-450-6133 (office)
                                                     202-255-6637 (cellular)
                                                     RF@RFeitelLaw.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion was filed with the Court and a copy
served via ECF upon Mary Dohrmann and Nicole McClain, U.S. Attorney’s Office for the
District of Columbia, 555 4th Street, N.W. Washington, D.C. this 28th day of January, 2021.


                                             Robert Feitel
                                             ___________________________
                                             Robert Feitel
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                                   TINITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


 TINITED STATES

 V.
                                                                   : 21 MJ 00013   (cMH)
 RICHARD BARNETT,

 Defendant.
                                                                    :


                                    DECLARATION

                    I, Anthony J. Siano, hereby declare as follows:

         l   '      My full name is Anthony J. Siano. My office address is 333 Westchester
                                                                                           Avenue.
 suite s302, white Plains, New York 10604. My telephone number
                                                               is (g1a) gg7-0100.

         2'         I was admitted to the Bar of the State of New York on Decemb er 21.7972.
                                                                                             Iwas
admitted to the Bar of the Sothern District of New York on
                                                           September 24,Ig73,admitted to the

Bar of the Eastern District of New York on January 13, 1983,
                                                             and admitted to the Bar of the

United States Circuit Court of Appeals for the Second Circuit on
                                                                 February 23,19g4.

        3.          I have never been subject to discipline by the Bar of any state.

        4'       This is my f,rrst request for admission to the Bar of the District Court
                                                                                          for the
District of Columbia.

        5'       I do not engage in the practice of law from the District of Columbia
                                                                                      nor do I have
an office in this   district. I have submitted, on the PACER system an application for admission
                                                                                                 to
the Bar of this court but am not yet a member of the bar
                                                         of this court.

        I hereby declare that the foregoing is true and correct.

       Dated: January, 28, 2021
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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA



UNITED STATES                                                :       Cr. 21-MJ-13 (GMH)

v.                                                           :

RICHARD BARNETT                               :

Defendant.


                                             ORDER

       Upon consideration of the Motion for Tony Siano, Esquire to appear Pro Hac Vice in the

above captioned case, and the entire record herein, it is, this _____ day of January, 2021,

       ORDERED, that the Motion is granted.



                                                     ______________________________
                                                     BERRYL A. HOWELL
                                                     Chief Judge
